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                             UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

   TROYCE MANASSA, individually and on
   behalf of all others similarly situated,

                      Plaintiff,

          v.
                                                            Case No. 1:20-cv-03172-RLY-MJD
   NATIONAL COLLEGIATE ATHLETIC
   ASSOCIATION,

                       Defendant.


         THE NCAA’S MOTION REQUESTING TO FILE SPECIFIC DOCUMENTS
         DESIGNATED AS CONFIDENTIAL UNDER THE PROTECTIVE ORDER
                               UNDER SEAL

         Pursuant to Local Rule 5-11, Section 18 of this Court’s ECF Policies and Procedures

  Manual, and Section VIII of the Protective Order entered in this case at Dkt. No. 63, Defendant

  the National Collegiate Athletic Association (“NCAA”), respectfully files this Motion Requesting

  to File Specific Documents designated as Confidential under the Protective Order Under Seal

  which are cited in the NCAA’s response papers to the pending Motion to Compel.

         The NCAA’s response to the pending Motion to Compel includes an Ezie-Boncoeur

  declaration attached as Exhibit A that attaches among its exhibits, Exhibits 1-2 and 13-14, which

  are true and correct copies of certain institutional documents designated under the Protective Order

  as Confidential which have been produced to Plaintiff. Given the confidentiality designations of

  these documents, the NCAA respectfully files this Motion to request that the Court allow it share

  these documents with the Court in camera. Because this Motion is pending, contemporaneously

  with filing this Motion, the NCAA will send an email to the Court with Plaintiff’s counsel copied

  that provides in camera copies of the Exhibits subject of this Motion.

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           For these reasons, the NCAA respectfully requests that the Court grant this Motion, and

  grant any further relief to which it may be entitled.


      DATED: June 2, 2022                         Respectfully submitted,

                                                  /s/ Chisara Ezie-Boncoeur
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                                                  Attorneys for Defendant the NCAA


                                   CERTIFICATE OF SERVICE

           The undersigned hereby certifies that a true and correct copy of the foregoing document

  has been filed using this court’s ECF system on all counsel of record.

                                                          /s/ Chisara Ezie-Boncoeur
                                                          Chisara Ezie-Boncoeur




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      Mr. Vital can be contacted at Barnes & Thornburg LLP’s Dallas, Texas office.

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                                  CONFERENCE CERTIFICATE

         The undersigned counsel conferred with Plaintiff’s counsel Ms. May regarding the

  substance of this Motion on June 2, 2023 on a telephone conference. Ms. May intends to follow

  up with the undersigned to confirm whether Plaintiff consents to the relief requested in this Motion.

  The undersigned will file an updated Conference Certificate once conference discussions regarding

  this Motion are complete.

                                                        /s/ Chisara Ezie-Boncoeur
                                                        Chisara Ezie-Boncoeur




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